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 7 United States of America

 8
                               IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                      CASE NO. 5:17-mj-00046-JLT
                                                             5:17-mj-00045-JLT
12                                 Plaintiff,                5:17-mj-00043-JLT
                                                             5:17-mj-00047-JLT
13                        v.                                 5:17-mj-00048-JLT
                                                             5:17-mj-00044-JLT
14   TOMMIE THOMAS,                                          5:17-mj-00050-JLT
     WILLIAM THOMAS,                                         5:17-mj-00052-JLT
15   DANNY WILLIS,                                           5:17-mj-00051-JLT
     GARY PIERSON,                                           5:17-mj-00049-JLT
16   LADAIREUS JONES,
     BERNARD WARREN,
17   MANUEL CRUZ,                                   [PROPOSED] ORDER TO UNSEAL COMPLAINT,
     LUIS FERNANDEZ,                                ARREST WARRANTS, AND AFFIDAVIT
18   BRYSHANIQUE ALLEN,
     MYRON DEWBERRY,
19
                               Defendant.
20
21         Upon application of the United States of America and good cause having been shown,
22         IT IS HEREBY ORDERED that the files in the above-captioned matters be, and are, hereby
23 ordered unsealed.

24   IT IS SO ORDERED.

25   DATED: December 12, 2017
26
                                                         Jennifer L. Thurston
27                                                       U.S. Magistrate Judge

28


      ORDER UNSEALING COMPLAINTS
